                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                WESTERN DIVISION
                                  NO. 5:19-cv-319

ANTHONY THOMPSON,

              Plaintiff,

v.

BALFOUR BEATTY INFRASTRUCTURE,
INC.; BALFOUR BEATTY
CONSTRUCTION,LLC;BALFOUR                                   NOTICE OF REMOVAL
BEATTY EQUIPMENT,LLC;BALFOUR
ENTERPRISES,INC.; BRANDSAFWAY
SERVICES,LLC;SAFWAY GROUP
HOLDINGS,LLC;BRANDSAFWAY,LLC;
BRANDSAFWAY INDUSTRIES,LLC;
BRANDSAFWAY SOLUTIONS,LLC;
SAFWAY,LLC; THYSSENKRUPP
SAFWAY,INC.; and SAFWAY TRANSFER
AND STORAGE,INC.,

              Defendants.


TO:    The United States District Court
       For the Eastern District ofNorth Carolina
       Western Division

       Defendants BrandSafway Services, LLC; Safway Group Holdings, LLC; BrandSafway,

LLC; BrandSafway Industries, LLC; BrandSafway Solutions, LLC; and Thyssenkrupp Safway,

LLC, through their undersigned counsel, do hereby exercise their rights under the provisions of

Title 28 U.S.C. § 1441 et seq., to remove this action from the General Court of Justice, Superior

Court Division, Cumberland County, North Carolina, in which this cause is now pending as Case

No. 19 CVS 3742. Said Defendants show unto the Court as follows:
        1.      This is an action of a civil nature in which the District Courts of the United States

have been given original jurisdiction pursuant to Title 28 U.S.C. § 1332 in that complete diversity

of citizenship existed at the time of the filing of this action and still exists as between the plaintiff

on the one hand and the defendants on the other, and the amount in controversy exceeds the sum of

$75,000.00, exclusive ofinterest and costs.

       2.       Under the provisions of 28 U.S.C. § 1441 et seq., the right exists to remove this

cause from the General Court of Justice, Superior Court Division, Cumberland County, North

Carolina, to the United States District Court for the Eastern District ofNorth Carolina, whiCh is the

District where this action is pending.

        3.      In the Complaint, plaintiff asserts claims against said Defendants sounding in

negligence, and seeks to recover compensatory damages allegedly arising out of all defendants'

conduct.

        4.      Upon information and belief, plaintiff Anthony Thompson is a citizen and resident

ofFayetteville, Cumberland County, North Carolina.

        5.      Defendant Balfour Beatty Infrastructure, Inc. is now, and was at the

commencement of this action, a corporation organized under and by virtue of the laws of the State

ofDelaware, with its principal place of business in Atlanta, GA.

        6.      Defendant Balfour Beatty Construction, LLC is now, and was at the

commencement of this action, a corporation organized under and by virtue of the laws of the State

ofDelaware, with its principal place of business in Dallas, TX.

        7.      Defendant Balfour Beatty Equipment, LLC is now, and was at the commencement

of this action, a corporation organized under and by virtue of the laws of the State of Delaware,

with its principal place of business in Dallas, TX.


                                                   2
       8.        Defendant Balfour Enterprises, Inc. was administratively dissolved in 1994 and no

longer exists.

       9.        Defendant BrandSafway Services, LLC is now, and was at the commencement of

this action, a corporation organized under and by virtue of the laws of the State of Delaware, with

its principal place of business in Kennesaw, GA.

        10.      Defendant Safway Group Holdings, LLC is now, and was at the commencement of

this action, a corporation organized under and by virtue of the laws of the State of Delaware, with

its principal place of business in Kennesaw, GA.

        11.      Defendant BrandSafway, LLC is now,and was at the commencement ofthis action,

a corporation organized under and by virtue of the laws of the State of Delaware, with its principal

place of business in Kennesaw, GA.

        12.      Defendant BrandSafway Industries, LLC is now, and was at the commencement of

this action, a corporation organized under and by virtue of the laws of the State of Delaware, with

its principal place of business in Logan Township, NJ.

        13.      Defendant BrandSafway Solutions, LLC is now, and was at the commencement of

this action, a corporation organized under and by virtue of the laws of the State of Texas, with its

principal place of business in La Porte, TX.

        14.      Defendant Safway, LLC is now, and was at the commencement of this action, a

corporation organized under and by virtue of the laws of the State of Delaware, with its principal

place of business in Kennesaw, GA.

        15.      Defendant Thyssenkrupp Safway, Inc. is now, and was at the commencement of

this action, a corporation organized under and by virtue ofthe laws ofthe State of Delaware with its

principal place of business in Waukesha, WI.


                                                   3
        16.    Defendant Safway Transfer and Storage, Inc. was administratively dissolved in

1994 and no longer exists.

        17.    The date on or before which said Defendants are required by the Rules of Civil

Procedure of the State of North Carolina to answer or otherwise plead to plaintiff's Complaint has

not lapsed.

        18.    In accordance with the requirements of Title 28 U.S.C. § 1446, said Defendants are

filing herewith a copy of all process, pleadings, and orders served upon it in this action (filed

contemporaneously as Exhibits A — Summons, and B - Complaint), and this Notice of Removal is

being filed within thirty(30)days after the receipt by said Defendants, through service or otherwise,

ofa copy ofthe initial pleading setting forth the claim for relief upon which the action is based.

        19.     Service of this Notice of Removal is being made upon on all parties as required by

law.



        WHEREFORE, defendants BrandSafway Services, LLC; Safway Group Holdings, LLC;

BrandSafway, LLC; BrandSafway Industries, LLC; BrandSafway Solutions, LLC and

Thyssenkrupp Safway, LLC pray that this action be removed to this Court for further proceedings,

as though this action had originally been instituted in this Court.


        This the 26th day of July, 2019.




                                                   4
YOUNG MOORE AND HENDERSON P.A.


BY:           /s/ Brian 0. Beverly
      BRIAN 0. BEVERLY
      State Bar No. 21925
      P.O. Box 31627
      Raleigh, NC 27622
      Phone:(919)782-6860
      Fax: (919)782-6753
      brian.beverly@,youngmoorelaw.com
      Attorneyfor BrandSafway Services, LLC;
              Safway Group Holdings, LLC;
              BrandSafway, LLC;
              BrandSafway Industries, LLC;
              BrandSafway Solutions, LLC; and
              Thyssenkrupp Safway, LLC




  5
                                CERTIFICATE OF SERVICE

        The undersigned attorney hereby certifies that the foregoing document was served upon
the attorney(s) / party(ies) shown below by depositing a copy of same in the United States mail,
postage prepaid, addressed to said attorney(s)/ party(ies).

       This the 26th day of July, 2019.

                                            YOUNG MOORE AND HENDERSON P.A.


                                            BY:              /s/ Brian 0. Beverly
                                                     BRIAN 0.BEVERLY
                                                     State Bar No. 21925
                                                     P.O. Box 31627
                                                     Raleigh, NC 27622
                                                     Phone:(919)782-6860
                                                     Fax: (919)782-6753
                                                     brian.beverly@youngmoorelaw.com
                                                     Attorneyfor BrandSafway Services, LLC;
                                                            Safway Group Holdings, LLC;
                                                             BrandSafway, LLC;
                                                             BrandSafway Industries, LLC;
                                                             BrandSafway Solutions, LLC; and
                                                             Thyssenkrupp Safway, LLC


Served on:

Marlo Thaggard-O'Tuel                              John Heuer, SVP/Legal
Brenton D. Adams                                   Balfour Beatty
Brent Adams & Associates                           1930 Camden Road, Suite 280
P.O. Box 1389                                      Charlotte, NC 28203
Dunn,NC 28335


Safway, LLC                                        Safway Transfer and Storage,Inc.
c/o Bryan M.Pfohl, Registered Agent                c/o Tommy Edd Johnson, Registered Agent
200 Horizon Drive, Suite 100                       Rt. 4, Box 34a
Raleigh, NC 27615-4947                             Clyde, NC 28721


4758399/900169-003




                                               6
